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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

      v.                                 CASE NO. 3:22-cr-115(S1)-TJC-JBT

GREGORY EDWARD MCLEAN
    a/k/a “twisteddesire3210,”
    a/k/a “twisteddesire3213”


              UNITED STATES’ SENTENCING MEMORANDUM

      From 2006 until the day of his arrest in 2022, Gregory McLean served as an

officer in the United States Navy. He was stationed both domestically and overseas,

and received commendations for his service. At the time of his arrest, McLean had

risen to the rank of Lieutenant Commander and was serving as the Executive Officer

of a littoral combat ship stationed aboard Naval Station Mayport. McLean’s Top

Secret/Sensitive Compartment Information (“SCI”) clearance granted him access to

some of our nation’s most closely guarded secrets.

      Gregory McLean, however, led a double life for years. He betrayed his

country, its laws and values, and his oath of office by distributing horrific videos and

images depicting the rape of children, and by flagrantly failing to protect the

classified information to which he had been given access. McLean’s crimes cannot

be reduced to an oversight or a mistake that spiraled out of control. The conduct

described in the Presentence Investigation Report (“PSR”) occurred over the course
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of years and demonstrated a clear sexual interest in minors, in addition to a willful

disregard of his sworn duty to protect the country and its national defense.

       The United States requests that the Court sentence the defendant within his

Guidelines range of 151 to 188 months. This sentence is warranted given the

aggravated nature and circumstances of the offenses, the defendant’s history and

characteristics, to provide just punishment, to promote respect for the law, and to

afford adequate deterrence. See 18 U.S.C. § 3553(a). When defendants engage in

criminal behavior that inflicts harm on child victims, society expects the justice

system to punish them accordingly. The appropriate sentence here is aggravated by

the fact that the defendant was a military leader who violated his oath and the

country’s trust by unlawfully retaining classified information – a significant crime

which ultimately does not factor into the defendant’s Guidelines range. The United

States submits that a Guidelines sentence is therefore necessary to fulfill the statutory

purposes of sentencing in this case.

                                Memorandum of Law

      On December 7, 2023, the defendant waived indictment and pleaded guilty to

both counts of the Superseding Information (Doc. 32). The defendant now faces a

statutory maximum of 20 years’ imprisonment as to Count One (distribution of child

pornography), with a mandatory minimum term of imprisonment of five years, and a

maximum of 10 years’ imprisonment as to Count Two (unlawful retention of

national defense information (“NDI”)). Pursuant to the plea agreement, the parties



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will jointly recommend that the Court impose concurrent sentences for Counts One

and Two. Doc. 40 at 5.

         The Probation Officer has correctly determined that the defendant’s offense

level for Count One is driven by the base offense level of 22 for distributing child

pornography, with specific offense characteristic enhancements imposed for

McLean’s distribution via computer of numerous images depicting violent sexual

conduct against prepubescent minor victims. PSR ¶¶ 53-62. Accordingly, the total

offense level for Count 1 is 37. Id. ¶ 62. The defendant’s offense level for Count

Two begins with a base offense level of 24, with an additional two levels added for

the defendant’s abuse of public trust, for a total offense level of 26. Id. ¶¶ 63-68. In

evaluating the multiple counts under USSG §3D1.4, however, the PSR (correctly)

assesses that Count Two ultimately does not affect the defendant’s combined

adjusted offense level because Count One’s offense level is significantly higher due to

the nature of the criminal conduct. With a three-level downward adjustment for

acceptance of responsibility and a Criminal History Category I, the defendant’s and

total offense level is 34, and his advisory guidelines range is 151-188 months. Id.

¶ 111.

         I.    The advisory guidelines range in this case is reasonable.

         The guidelines range in this case accurately reflects the seriousness of the

defendant’s conduct. The videos and images possessed and distributed by the

defendant depicted the violent sexual abuse of children. Tragically, those children

are victimized again and again as these files circulate among criminals via the
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internet. The defendant willingly contributed to that victimization, even if he

himself was not the person who produced the images.

       In his sentencing memorandum, the defendant requests that the Court vary 1

downwardly and impose only the mandatory minimum sentence of 60 months – a

variance of over 60% from the bottom of the advisory guidelines range, and almost

70% from the top of the range. As set forth below, the defendant discusses a

handful of cases in which courts gave defendants significant downward variances—

declaring that those cases are analogous to his own situation—and implicitly attacks

the child pornography guidelines in USSG §2G2.2 as overly punitive to “non-

production” defendants. McLean appends to his memorandum a transcript from a

2014 sentencing hearing during which the Court discussed its views on USSG

§2G2.2 in the context of a receipt-of-child-pornography case. Doc. 51, Ex. E

(Transcript from United States v. John Charles Stevenson, Case No. 3:13-cr-106-TJC-

JRK, March 25, 2014).

      A. The defendant’s purportedly analogous cases do not support a variance.

      The cases cited by the defendant are inapposite. For example, the defendant

refers repeatedly to United States v. Gray, 453 F.3d 1323 (11th Cir. 2006), arguing that

the facts in Gray are “nearly identical” to those here.    See Doc. 51 at 20-21, 24-25,

30-31. Not so: although Gray pleaded guilty to distribution of child pornography



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       The memorandum requests throughout that the Court downwardly depart from the
guidelines range, but the relevant discussions appear to address a downward variance.
Therefore, the government will address the latter herein.
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and had the same advisory guidelines range of 151-188 months, the similarities end

there. Gray received a sentence of 72 months, apparently in large part because he

was a senior citizen with a history of health problems (having been recently

discharged from the hospital due to heart issues) and diagnosed mental health issues.

453 F.3d at 1324. Moreover, the district court record shows that Gray had been

allowed to remain on bond pending trial due to his cooperation 2 with law

enforcement regarding information “which might have substantially assisted the

United States in the investigation of other offenses.” Case No. 6:04-cr-182-Orl-

18KRS, Doc. 20. Due to an error by Pretrial Services, however, the defendant was

not provided with court-ordered mental health treatment as part of his supervision,

apparently culminating in a crisis where Gray brandished a firearm in an attempt to

commit “suicide-by-cop.” Id. Needless to say, these significant factors are not

present here. Even so, the Eleventh Circuit affirmed Gray’s sentence

unenthusiastically, stating, “Although Gray’s sentence is less than half the 151

months that defines the bottom of the guidelines range, under the circumstances and

given the district court’s explanation we cannot say that is unreasonable in light of

the § 3553(a) factors.” Id. at 1325.




2
        The United States notes that, prior to the defendant’s plea hearing, he provided via
his attorney certain information regarding another individual’s possible criminal conduct.
This information was ultimately not corroborated and does not constitute substantial
assistance (nor was a cooperation provision part of McLean’s plea agreement), but the
United States here advises the Court of the defendant’s attempt to provide information.
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      Other cases cited by the defendant as “holdings” supporting a downward

variance are similarly inapposite. See, e.g., United States v. McBride, 511 F.3d 1293,

1295, 1298 (11th Cir. 2008) (affirming 84-month sentence in distribution case where

district court found that defendant had “‘perhaps one of the worst histories that I

have seen since being on the bench, being essentially abandoned by his family and

then consistently abused,’” including ten years of sexual abuse by his grandfather,

and his uncle and mother beating him to the point of severing his intestine, breaking

his arm, and burning him); United States v. West, No. 22-13087, 2023 WL 4399012, at

*1-3 (11th Cir. July 7, 2023) (rejecting defendant’s appeal of 90-month sentence for

distribution, with a guidelines range of 151-188 months, where defendant was a

transgender woman required to suppress her gender identity and subjected to

physical and sexual abuse throughout her childhood; a psychologist concluded that

the defendant was not a pedophile and had a low risk of committing future sex

crimes; and the government did not oppose downward variance); United States v.

Riley, 655 F. Supp. 2d. 1298, 1300-05 (S.D. Fl. 2009) (imposing sentence of 60

months for defendant convicted of receipt of child pornography, where two

psychiatrists opined that defendant presented a low risk of reoffending, and court

expressed general skepticism of the guidelines).

      Defendants in child-exploitation cases often point to cases like Gray, McBride,

and Riley as the lodestar against which courts must measure their sentences to avoid

unwarranted disparities. The Eleventh Circuit has disfavored this type of

comparison as necessitating a downward variance. For example, in United States v.
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Demont, 283 F. App’x 768, 771 (11th Cir. 2008), that defendant argued that Gray and

McBride were downward-variance cases supporting his appeal of a 169-month

sentence for distribution or receipt of child pornography. The Eleventh Circuit

rejected his argument and affirmed the sentence, explaining:

             [I]n neither [Gray or McBride] did we affirm for the sole purpose of
             complying with the single statutory factor, namely § 3553(a)(6),
             which provides: “the need to avoid unwarranted sentence
             disparities among defendants with similar records who have been
             found guilty of similar conduct.” Moreover, we have recently
             stated that we have “typically treated child sex offenses as serious
             crimes, upholding severe sentences in these cases.” Significantly,
             after we made that observation in Pugh, we distinguished cases,
             including Gray and McBride, in which we had affirmed downward
             variances.

Id. (quoting United States v. Pugh, 515 F.3d 1179, 1202 (11th Cir. 2008)). More

recently, in United States v. Gallander, 610 F. App’x 930 (11th Cir. 2015), the Eleventh

Circuit rejected a sentencing challenge brought by a defendant who had been

convicted of distribution or receipt of child pornography and was sentenced to 222

months. The defendant pointed to McBride and Riley as grounds for an unwarranted

disparity, which the court summarily rejected, stating, “While these cases are similar

and demonstrate that we will uphold a term less than that imposed in the present

case, they do not show that Defendant’s sentence is outside of the reasonable range

of sentences.” Gallander, 610 F. App’x at 933.

      Simply put, the defendant’s citations to purportedly analogous cases do not

constitute grounds for a downward variance. Moreover, the defendant fails to

acknowledge the most glaring difference between this case and his analogs: in none


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of those cases did the defendant commit an entirely separate, unrelated serious

offense like McLean has done here.

       B. The guidelines in USSG 2G2.2 are not unfairly punitive.

       The defendant also argues that the sentencing guidelines unfairly treat

defendants who possess or distribute child pornography (“non-production”

defendants) the same as those who produce it. The defendant appends the Stevenson

sentencing transcript from 2013 as Exhibit E to his memorandum, directing the

Court to the discussion at pages 17-22 regarding “the difficulty in applying the

sentencing guidelines in cases like [McLean’s].” Doc. 51 at 29-30. This argument

fails for several reasons.

       As an initial matter, Stevenson involved a defendant convicted of receipt of child

pornography—or being a “downloader” as the Court put it at page 22 of Exhibit E—

as opposed to distributing child pornography like McLean. In its discussion of the

appropriate sentence for Stevenson, the Court categorized receipt with possession in

terms of the nature of offense, as opposed to distribution. See Doc. 51, Ex. E at 4-5

(noting that the case involved “the receipt of child pornography – possession and

receipt of child pornography. . . . And [the prosecutor] and I have had discussions

before about how you decide whether to charge possession or receipt, because that

makes a big difference.”) While receipt and distribution are paired in 18 U.S.C. §

2252(a)(2), the implicit inference of the Court appears to be that receiving child

pornography differs from distribution in that the act of sending these images to other

criminals can cause immeasurable ripple effects of harm to victims through

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additional future distributions. The guidelines reflect that distinction in the

enhancements contained in USSG §2G2.2(b)(3). Thus, at a very fundamental level,

McLean’s conduct is not identical to Stevenson’s.

      Further, the Court’s review of the Sentencing Commission’s 2012 Report to

Congress: Federal Child Pornography Offenses (hereinafter the “2012 Report”), 3

and its critique of USSG §2G2.2 as “fail[ing] to differentiate among offenders in

terms of their culpability” occurred more than ten years ago. Doc. 51, Ex. E at 13.

Subsequently, the Eleventh Circuit reinforced the validity of USSG §2G2.2, and the

Court affirmed the applicability of the guidelines in imposing appropriately severe

sentences for those engaged in child pornography offenses. In 2014, the Eleventh

Circuit addressed the 2012 Report directly in United States v. Cubero, 754 F.3d 999

(11th Cir. 2014). The court of appeals held that the publication of the 2012 Report

“does not change the statutory sentencing scheme, the applicable sentencing

guidelines, or the binding precedent about §2G2.2 in this Circuit,” and that before

the publication of the report “this Court has previously rejected similar arguments

about the sentencing guidelines for child pornography offenses generally. We do so

here, specifically as to §2G2.2.” Cubero, 754 F.3d at 901 (citing United States v.

Wayerski, 624 F.3d 1342, 1354-55 (11th Cir. 2010)); see also United States v. Jackson,

No. 22-12533, 2023 WL 2945162, at *5 (11th Cir. Apr. 14, 2023), cert. denied, 143 S.

Ct. 2679 (2023) (rejecting defendant’s challenge to a 138-month sentence for receipt


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       Now available at https://www.ussc.gov/research/congressional-reports/2012-
report-congress-federal-child-pornography-offenses.
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of child pornography, with a guidelines range of 151-188 months, and noting that

Cubero “rejected the argument that the [2012 Report] rendered §2G2.2 invalid or

required the district court to vary downward in non-production child pornography

cases.”)

      The logic of Cubero has since been borne out by Congress and the Sentencing

Commission. The Court presaged this during its discussion of the “concerns

expressed [in the 2012 Report] that the current guidelines in non-production cases

are perhaps askew” in the Stevenson hearing, stating: “[A]gain, this is the sentencing

commission itself in 2012. And, obviously, no action has yet been taken, but I think

it’s an interesting addition to the learning.” Doc. 51, Ex. E at 14. In the eleven

years since, the Sentencing Commission has amended the guidelines multiple times.

At no point has it taken action to mitigate the guidelines applicable to “non-

production cases.” Rather, in 2016, the Sentencing Commission revised the

guidelines to clarify (1) the specific offense characteristic regarding images depicting

violent conduct in §2G2.2(b)(4) because the Commission concluded “child

pornography offenses involving infants and toddlers warrant an enhancement,” (2)

the distribution enhancement in §2G2.2(b)(3)(F) to apply “only in cases in which the

defendant knowingly engaged in distribution,” and (3) the five-level enhancement in

§2G2.2(b)(3)(B) to apply to defendants who distribute for valuable consideration.

See Amendments to Sentencing Guidelines, April 28, 2016 (available at

https://www.ussc.gov/sites/default/files/pdf/ amendment-process/reader-friendly-

amendments/20160428_RF.pdf).
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      In short, Congress and the Sentencing Commission have taken no action in

eleven years to reduce the severity of punishments for those who distribute child

pornography. Indeed, the Sentencing Commission clarified two separate

enhancements in the guidelines such that they are applicable to McLean himself in

this very case. There is no conclusion to draw other than that the advisory

guidelines range in this case is wholly appropriate, rather than unfairly punitive.

      II.    The advisory guidelines range in this case does not factor in the
             serious and wholly distinct conduct charged in Count Two.

      One thing the defendant’s memorandum seldom addresses is his unlawful

retention of classified NDI. This omission tracks the PSR’s conclusion that, as

noted above, this entirely separate criminal conduct does not factor into McLean’s

combined advisory guidelines range. It is a function of the severity of §2G2.2 that,

even if the defendant had never unlawfully removed classified information from a

secure facility and kept it at his residence, his guidelines in this case would be exactly

the same.

      But that does not mean McLean’s retention of classified NDI should be

disregarded. To the contrary, this Court should consider McLean’s betrayal of the

trust the U.S. government placed in him, and the risk to national security he created.

The defendant was a highly trained naval officer who, despite his knowledge and

experience, removed classified NDI from secure locations and stored it in a wholly

unsecure location – his kitchen counter, where anyone who entered his home could

have had easy access to it. Further, if the defendant inserted the flash drive into an


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unclassified, unsecure computer—which he almost certainly did, given the presence

of pornography and other unclassified files on the drive—it would have further

exposed the classified NDI by allowing remote electronic access by unauthorized

persons. 4

       The amount of classified national defense information McLean put at risk is

also noteworthy. He did not mistakenly download a document or two. There were

approximately 150 Secret documents and 50 Confidential documents on the thumb

drive. These Secret documents, which contained NDI related to foreign

governments and their combat aircraft and naval capabilities, could be expected to

cause serious damage to U.S. national security if they were disclosed. McLean was

aware of this risk because he received multiple security briefings throughout his

career, during which he was taught the proper handling and storage of classified

information and acknowledged that the unauthorized retention of documents could

cause damage to national security. Despite this, McLean downloaded these

documents and took them home in violation of the law.

       If McLean did not have a prurient sexual interest in children and never

distributed child pornography, he would still be facing an advisory guidelines range

of 46-57 months (including an adjustment for acceptance of responsibility) for his

conduct betraying the country’s trust. The Court should not entertain the


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       While the documents had all been created and classified in 2008 or earlier, the
presence of other files (such as the defendant’s 2018 fitness report) suggests McLean was
carrying and using the flash drive far more recently.


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defendant’s plea for a downward variance without first considering this unique

discrepancy. This conduct would warrant a significant sentence on its own, and the

government submits it negates any mitigative factors tending to support a downward

variance in this case.

      III.   Conclusion

      For the reasons set forth above and as the United States will address further at

the sentencing hearing, the 18 U.S.C. § 3553(a) factors strongly support a Guidelines

sentence for this defendant, including the nature and circumstances of the offense

conduct (including both disparate courses of criminal activity), the need to reflect the

seriousness of the offense, promote respect for the law, and provide a just




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punishment, the need to afford adequate deterrence, and the need to protect the

public. A sentence within the advisory guidelines range will accomplish these goals.



                                              Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2024, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Jesse Dreiser, Esq.
       James Hill, Esq.


                                           /s/ David B. Mesrobian
                                           David B. Mesrobian
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